        Case 1:20-cv-01289-MV-JHR Document 26 Filed 12/23/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


DONALD J. TRUMP FOR PRESIDENT, INC.,

               Plaintiff,                                 Case No. 1:20-cv-01289-MV
v.

MAGGIE TOULOUSE OLIVER, in her official
capacity as Secretary of State of New Mexico, the
ELECTORS of NEW MEXICO and the STATE
CANVASSING BOARD OF NEW MEXICO,

               Defendants.


                             DECLARATION OF EMILY BRAILEY

        I, EMILY BRAILEY, declare as follows:

        1.      My name is Emily Brailey. I am over the age of 18 and am competent to make this

declaration.

        2.      I am a member of the law firm of Perkins Coie LLP, 700 13th St., NW, Washington,

DC 20005.

        3.      I am a member in good standing of the Bar of the District of Columbia.

        4.      I am associated in this matter with Melendres, Melendres & Harrigan P.C., 1017

5th Street N.W., Albuquerque, NM 87102.

        5.      DNC Services Corporation/Democratic National Committee (“DNC”) has

requested that it be personally represented by me in connection with this matter.

        6.      There is good cause for my admission pro hac vice to represent DNC as I have had

an attorney-client relationship with DNC. Moreover, this matter involves the law applicable to

civil trials, an area of law in which I practice.
                                                    1
       Case 1:20-cv-01289-MV-JHR Document 26 Filed 12/23/20 Page 2 of 2




       .

Dated this 23rd day of December, 2020.

                                               /s/ Emily Brailey
                                             Emily Brailey




                                         2
